       Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 1 of 29          PageID #: 1
Cu''                                  SE
          ORIGINAL                    BY ORDER OE I HE COURT
             WARNING:             THIS IS A SEALED DOCUMENT CONTAINING
                                  NON-PUBLIC INFORMATION


       KENJI M.PRICE #10523
       United States Attorney                                       FILED IN THE
                                                           UNITED STATES DISTRICT COURT
       District of Eiawaii                                       DISTRICT OF HAWAII

                                                                    FEB 1 3 2020
       SEAN VAN DEMARK #10288
       MICAH SMITH                                         at    ^o'clock and.
                                                                "^UE BEITIA, CLERK
       Assistant U.S. Attorneys
       Room 6-100,PJKK Federal Bldg.
       300 Ala Moana Boulevard
       Honolulu, Hawaii 96850
       Telephone:(808)541-2850
       Facsimile:(808)541-2958
       Email: Sean.Van.Demark@usdoj.gov
              Micah.Smith@usdoj.gov

       Attorneys for Plaintiff
       UNITED STATES OF AMERICA


                         IN THE UNITED STATES DISTRICT COURT


                                 FOR THE DISTRICT OF HAWAII


       UNITED STATES OF AMERICA,                   CR NO. C R 20 - 000 24 jAO
                         Plaintiff,               INDICTMENT


                  vs.                             [21 U.S.C. §§ 841(a)(1), 841(b)(1)(A),
                                                   841(b)(1)(B), 841(b)(1)(C), and 846;
       ARTHUR BRUN,                      (01)      18U.S.C. §§ 111,371, 922(g)(1),
            aka "Ata,"                             1512(c)(1), and 1512(b)(3)]
       MAEUELUE UMU,                     (02)
          aka "Malu,"
       KELVIN KAUWILA KAI,               (03)
          aka "Kauwila,"
       STEVEN KELIIKULI,                 (04)
       KANIU HUIHUI,                     (05)
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 2 of 29          PageID #: 2




SHEENA MILLARE,                     (06)
EFRENYANOS,                         (07)
KIRSTENMAKANOEAYAU,                 (08)
     aka "Makanoe,"
ORLANDO MANGUCHEI,                  (09)
   aka"01e,"
ROBBYSILVA,                         (10)
HAIDEE SUEYASU,and                  (11)
PHRYSTAL BACIO,                     (12)

                 Defendants.




                                  INDICTMENT


The Grand Jury charges:

                                General Allegations

      1.     At all times relevant to this Indictment, ARTHUR BRUN aka "Ata,"

the defendant, was a sitting member ofthe Kaua'i County Council and the Vice

Chair of its Public Safety & Human Services Committee. At the same time that he

held this position of public trust, BRUN led a drug trafficking organization (the

"DTO")that distributed substantial amounts of methamphetamine on Kaua'i.

      2.     At all times relevant to this Indictment, MALUELUE UMU,aka

"Malu," the defendant, was a "shot caller," or leader, ofthe United Samoan

Organization (the"USO gang"), a gang that operates both inside and outside ofthe
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 3 of 29          PageID #: 3




prison system in the State of Hawai'i. At certain times relevant to this Indictment,

UMU supplied BRUN and the DTO with wholesale amounts of methamphetamine.

      3.       At certain times relevant to this Indictment, ORLANDO

MANGUCHEI,aka "Ole," the defendant, acted to protect ARTHUR BRUN,aka

"Ata," the defendant, and the operations ofthe DTO. MANGUCHEI played this

role for BRUN at the same time that he was a fugitive on a federal arrest warrant

for violations of his federal supervised release. In that same time period, BRUN

made efforts to obtain an unregistered firearm for MANGUCHEI's use, despite the

fact that both BRUN and MANGUCHEI have previously sustained felony

convictions.


      4.       At certain times relevant to this Indictment, KELVIN KAUWILA

KAI,aka "Kauwila," STEVEN KELIIKULI,KANIU HUIHUI,SHEENA

MILLARE,EFREN YANOS,KIRSTEN MAKANOE AYAU,aka "Makanoe,"

ROBBY SILVA,HAIDEE SUEYASU,and PHRYSTAL BACIO,the defendants,

distributed and possessed with intent to distribute methamphetamine on Kaua'i in

connection with the operations ofthe DTO.
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 4 of 29           PageID #: 4




                                       Count 1
                            Drug Trafficking Conspiracy
                                (21 U.S.C. § 846)

      5.     From a precise date unknown, but by at least in or about June 2019,

and continuing to in or about January 2020, within the District of Hawaii and

elsewhere, ARTHUR BRUN,aka "Ata," MALUELUE UMU,aka "Malu,"

KELVIN KAUWILA KAI, aka "Kauwila," STEVEN KELIIKULI,KANIU

HUIHUI,SHEENA MILLARE,EFREN YANOS,KIRSTEN MAKANOE

AYAU,aka "Makanoe," ORLANDO MANGUCHEI,aka "Ole," ROBBY SILVA,

HAIDEE SUEYASU,and PHRYSTAL BACIO,the defendants, and others known

and unknown, did knowingly and intentionally combine, conspire, confederate, and

agree with each other to violate the controlled substances laws ofthe United States.

      6.     It was a part and an object ofthe conspiracy that ARTHUR BRUN,

aka "Ata," MALUELUE UMU,aka "Malu," KELVIN KAUWILA KAI,aka

"Kauwila," STEVEN KELIIKULI,KANIU HUIHUI, SHEENA MILLARE,

EFREN YANOS,KIRSTEN MAKANOE AYAU,aka "Makanoe," ORLANDO

MANGUCHEI,aka "Ole," ROBBY SILVA,HAIDEE SUEYASU,and

PHRYSTAL BACIO,the defendants, and others known and unknown, would and

did distribute and possess with intent to distribute a controlled substance in

violation of Title 21, United States Code, Section 841(a)(1).
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 5 of 29          PageID #: 5




      7.     The controlled substance that ARTHUR BRUN,aka "Ata,"

MALUELUE UMU,aka "Malu," KELVIN KAUWILA KAI, aka "Kauwila,"

STEVEN KELIIKULI,KANIU HUIHUI, SHEENA MILLARE,EFREN YANOS,

KIRSTEN MAKANOE AYAU,aka "Makanoe," ORLANDO MANGUCHEI,aka

"Ole," ROBBY SILVA,HAIDEE SUEYASU,and PHRYSTAL BACIO,the

defendants, conspired to distribute and possess with intent to distribute was 500

grams or more of a mixture and substance containing a detectable amount of

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(A).

                                    Overt Acts


      8.    In furtherance ofthe conspiracy and to effect the illegal objects

thereof, the following overt acts, among others, were committed within the District

of Hawai'i and elsewhere:


            a.     On or about September 17, 2019, ARTHUR BRUN,aka "Ata,"

and SHEENA MILLARE,the defendants, sold approximately one ounce (28.3

grams)of methamphetamine to a cooperating source for $1,010.00.

            b.     On or about October 11, 2019,BRUN received a call from

HAIDEE SUEYASU,the defendant. During the conversation, BRUN asked, in
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 6 of 29      PageID #: 6




substance and in part,"how much you got?" SUEYASU responded, in substance

and in part,"Umm. I get five with me. I go count. I stay driving." BRUN

informed SUEYASU,in substance and in part,"Ok, umm. Probably

tomorrow...Then I can go grab some,just whatever cash you get is fine."

            c.    On or about October 12,2019,BRUN and MALUELUE UMU,

aka "Malu," the defendant, spoke by phone and arranged to meet in person at

Waimea Park. While there, UMU supplied BRUN with approximately one pound

(16 ounces or 453 grams)of methamphetamine.

            d.    Shortly after the meeting between BRUN and UMU on October

12, 2019,BRUN called KELVIN KAUWILA KAI,aka "Kauwila," the defendant,

and advised him,in substance and in part, to go to BRUN's home and "grab the

bag," which contained the methamphetamine that UMU had supplied BRUN.

            e.    On or about October 13, 2019, KAI called BRUN to inform

him that, in substance and in part, the methamphetamine obtained from UMU was

"killa .... the best one so far." In response,BRUN asked KAI,in substance and

in part,"how much had," to which KAI responded,"had 13," meaning 13 ounces,

or slightly less than the anticipated pound, or 16 ounces. BRUN asked,"13

ounces?" KAI confirmed, in substance and in part,"I think was 131 can go weigh

eveiything," and BRUN agreed,"yeah weigh em all out."
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 7 of 29         PageID #: 7




             f.     Later in the day on or about October 13, 2019, KAI called

BRUN to correct his earlier statement that UMU had given them only 13 ounces of

methamphetamine, or slightly less than the anticipated 16 ounces: "I counted

wrong. It's all there."

             g.     On or about October 16, 2019, BRUN called another person not

charged herein("CC-1")and asked, in substance and in part, if CC-1 "get any uh

guns?" When CC-1 answered that he had a registered gun,BRUN responded, in

substance and in part, that he needed an unregistered gun for ORLANDO

MANGUCHEI,aka "Ole," the defendant: "No,not registered .... My friend

coming from Oahu he like go hunt that's why ....this fucka not going get caught

I promise .... that's for Orlando that's why."

             h.     On or about October 16, 2019, MANGUCHEI sent a text

message to BRUN in which he asked, in substance and in part, ifBRUN needed

assistance with collecting drug debts: "Patnahno more real job for me up there?.i

hit wonders.on the real.i not on that stuff.i mean business. If someone owe u.that


get the cash but holding o ... ut.or just text me out.we talk."

             i.    On or about October 17, 2019,BRUN and MANGUCHEI

spoke by phone, during which conversation BRUN explained, in substance and in

part, that his "boy" had a"SKS" firearm "for you hunt." When MANGUCHEI
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 8 of 29        PageID #: 8




asked, in substance and in part,"what get rounds in that thing?" BRUN responded,

"Get brah, hundred or thousand rounds ...    Later in the conversation, BRUN

asked MANGUCHEI,in substance and in part, if he would prefer a "38 ...

revolver."


             j.    On or about October 18, 2019,BRUN called a member ofthe

DTO not charged herein and advised him, in substance and in part, to not go to

"Port Allen" because there were "undercover cars down there."

             k.    On or about October 19, 2019,BRUN arranged to meet with

UMU and advised him that he went to "Salt Pond" because "fuckin cops in

Hanapepe Town."

             1.    On or about October 19, 2019, a member ofthe USO gang not

charged herein("CC-2")threatened BRUN out of a concern that BRUN might be

cooperating with law enforcement. In response, MANGUCHEI confronted CC-2

and forced him to stand down. Afterwards, BRUN called CC-1 and explained, in

substance and in part, that BRUN had been aided by MANGUCHEI,his "gun man

from before."


             m.    On or about October 20,2019,BRUN called KAI to discuss the

confrontation with CC-2. As BRUN explained to KAI,MANGUCHEI had warned

CC-2, in substance and in part: "I work for[BRUN]long time. Don't you even
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 9 of 29        PageID #: 9




think oftouch him .... You not going touch him. You going deal with me first..

.. You goin have to bury me first, brah. You not going touch Arthur."

            n.     On or about October 20,2019, STEVEN KELIIKULI,the

defendant, spoke by phone with BRUN and warned him,in substance and in part,

that there were "three cop cars in Hanapepe ...."

            o.    On or about October 23,2019,BRUN called SUEYASU and

asked SUEYASU where she was. BRUN then informed SUEYASU,in substance

and in part,"da kine is taking over everything for me now. I'm out." SUEYASU

said, in substance and in part,"Oh shucks, am I taking over for you?" BRUN

informed SUEYASU that he was referring to KAI. Later in the conversation,

BRUN discusses SUEYASU's debt and says, in substance and in part,"Well how

much do you have? Okay,so if you, as ah as what I trying to figure out. Your bill

is what we had minus...55 and then we took out the 800, so 47. So stay 4 right

now." SUEYASU began to say, in substance and in part,"And then I gave..." but

Brun said, in substance and in part,"You gave me the 7...Yeah so, $4000. You

have 4 ounces, so take 16, 32. Can you just hold one for now and give um 3?"

SUEYASU agreed. BRUN then instructed SUEYASU,in substance and in part,

"Give um 3 keep 1. So we going minus 24 out ofthe 4 so 16 you bill going be."
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 10 of 29             PageID #: 10




              p.     In or about October 2019,BRUN arranged with KANIU

  HUIHUI,the defendant, to purchase approximately one pound(16 ounces or 453

  grams)of methamphetamine that would be mailed to Kaua'i from California for

 $9,000.00. The Kaua'i Police Department intercepted the methamphetamine,

  pursuant to a search warrant, before it was delivered to its addressee,"C. Huihui."

              q.     On or about October 28, 2019,BRUN spoke by phone with

 KIRSTEN MAKANOE AYAU,aka "Makanoe," the defendant. When AYAU

 asked where they should meet, BRUN warned her, in substance and in part,"hang

 on little while fucking cops galore over here."

              r.     On or about October 29, 2019,BRUN called SUEYASU and

 SUEYASU asked BRUN,in substance and in part,"what is my kine now?"

 BRUN responded"Ummmm 161 think...4 minus the 24...let me look...Uh yeah,

 cuz, it's 4000 you gave back the 3, so it minus the money for the 16th now."

 BRUN asked, in substance and in part, if SUEYASU had any ofthat money to

 which SUEYASU responded, in substance and in part, that she had "a thousand."

 BRUN told SUEYASU,in substance and in part,"OK OK OK OK let me know if

 you need more if not I'll come that side. I gotta stop Kalaheo that side."

              s.     On or about October 29,2019, UMU,supplied BRUN with

 approximately one pound and two ounces(517.6 grams)of methamphetamine.

                                          10
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 11 of 29        PageID #: 11




             t.     On or about October 29,2019, shortly after BRUN received the

 approximately one pound and two ounces(517.6 grams)of methamphetamine

 fi"om UMU,the Kaua'i Police Department conducted a traffic stop ofBRUN.

 BRUN resisted orders to stop, fled the scene, engaged the police in a high-speed

 chase, and threw the methamphetamine out of his car window while fleeing.

 Unbeknownst to BRUN,the Kaua'i Police Department recovered the

 methamphetamine.

             u.     On or about October 30, 2019,BRUN spoke by phone to KAI,

 during which conversation KAI asked BRUN,in substance and in part, to provide

 a more precise description of where he had thrown the approximately one pound

 and two ounces(517.6 grams)of methamphetamine, and BRUN responded, in

 substance and in part,"Fuck, maybe was more down because I think I was around

 one comer when I did um,so nobody was really following me."

             V.     On or about October 31,2019, BRUN spoke to MANGUCHEI

 by phone, during which conversation MANGUCHEI asked BRUN,in substance

 and in part,"What you never get caught with nothing hah," to which BRUN

 responded, in substance and in part,"No .... That's why dakine that's why I ran."

             w.     On or about November 1, 2019, AYAU called BRUN by phone

 and asked, in substance and in part, whether BRUN had not yet obtained a new

                                         11
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 12 of 29       PageID #: 12




 supply of methamphetamine: "what we still out ofcommission?" When BRUN

 responded, in substance and in part,"Yeah,trying to get right now but nobody like

 give me," AYAU replied, in substance and in part,"Ok well let me know. My

 phone stay blowing up."

             X.    On or about November 2, 2019,BRUN called PHRYSTAL

 BACIO,the defendant, by phone and asked, in substance and in part, whether

 BACIO had any "stuff to which BACIO responded,"Yeah." BRUN inquired

 "How much?" to which BACIO responded "12." BRUN informed BACIO,in

 substance and in part,"Just waiting for mine...this afternoon." BACIO informed

 BRUN,in substance and in part, that she could "throw [him] something." Later,

 BRUN and BACIO spoke again and BACIO inquired, in substance and in part,

 whether BRUN would "like one half or one whole one?" BRUN responded, in

 substance and in part,"may as well get one whole one fuck um."

             y.    On or about November 3, 2019, BRUN called BACIO and

 asked, in substance and in part, if BACIO "can do two or just one?" BACIO

 responded,"I can" to which BRUN asked,"You get it? Okay, probably two mo'

 fuck." BACIO responded,"Okay I gotta make em."




                                        12
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 13 of 29         PageID #: 13




              z.    On or about November 6,2019, BRUN spoke to another person

 not charged herein by phone and asked that person, in substance and in part, to

 advise him "when cops pass over there."

              aa.   On or about November 15, 2019, KELIIKULI made a phone

 call to BRUN in which KELIIKULI explained that he was going to Lihue and

 asked, in substance and in part,"I can get three more .... ounces roll up here,"

 that is, approximately three ounces(85 grams)of methamphetamine.

              bb.   On or about November 15, 2019,BRUN called KAI and

 explained, in substance and in part, that KELIIKULI "stay in Lihue right now" and

 that KAI should "make three more ofthat same stuff," that is, prepare three ounces

 (85 grams)of methamphetamine for KELIIKULI.

              cc.   On or about November 15, 2019,BRUN called BACIO and

 asked, in substance and in part,"Eh, what is the cheapest you can give me one half

 at?" BACIO responded, in substance and in part,"One half...what?" BRUN

 replied,"P." BACIO informed BRUN,in substance and in part,"Um I don't know

 probably like five." BRUN accepted that price and informed BACIO,in substance

 and in part, that he "no more nothing right now" because he had a "couple ounces

 that [he] going drop off and then..."




                                         13
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 14 of 29        PageID #: 14




              dd.    On or about November 18, 2019,BRUN called BACIO and

 informed her, in substance and in part, that he was going to "Steven's" and he had

 to leave soon. BACIO responded, in substance and in part, that she was "still

 trying to fficking do everything so [she] still gotta weigh them out." BRUN asked,

 in substance and in part, if BACIO could "just make two half ounces out of one."

 BACIO agreed, in substance and in part, to take out two half ounces for BRUN and

 meet BRUN at a location to be determined later.

              ee.    On or about November 19, 2019,BRUN supplied

 approximately one ounce (28.3 grams)of methamphetamine to EFREN YANOS,

 the defendant, for $1,000, which methamphetamine the Kaua'i Police Department

 seized during a traffic stop shortly thereafter.

              ff.    In or about the late evening ofNovember 21,2019,BRUN

 supplied another person not charged herein("CC-3") with approximately one

 ounce (28.3 grams)of methamphetamine, which the Kaua'i Police Department

 seized during a traffic stop shortly thereafter.

              gg.    In or about the early morning of November 22,2019, CC-3

 called BRUN,informed BRUN about the traffic stop, and expressed concern that,

 in substance and in part, all the "stuffis in the bag in my backpack ...." BRUN

 responded, in substance and in part,"Say you don't, you know what I don't know

                                           14
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 15 of 29        PageID #: 15




 whose bag ... and then just stay with that." When CC-3 proposed, in substance

 and in part,"What about ifI give em like somebody's name like ... that left the

 island or something you know?" To which BRUN responded, in substance and in

 part,"Up to you brah. That's fine yea yea yea."

             hh.   In or about the early morning of November 22, 2019,BRUN

 called AYAU to warn her, in substance and in part, that the Kaua'i Police

 Department "just fucking pulled over someone [namely, CC-3] who grabbed shit

 from me."


             ii.    On or about January 21,2020,ROBBY SILVA,the defendant,

 possessed approximately 100 grams of methamphetamine which were seized

 during the execution of a search warrant on the residence of SILVA, after which

 SILVA admitted, in substance and in part, that he had obtained the

 methamphetamine jfrom BRUN.

       All in violation of Title 21, United States Code, Section 846.




                                      Count 2
                        Distribution of Methamphetamine
                    (21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C))

       9.    On or about September 17, 2019, within the District of Hawaii,

 ARTHUR BRUN,aka "Ata," and SHEENA MILLARE,the defendants, did


                                         15
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 16 of 29           PageID #: 16




 knowingly and intentionally distribute a quantity of a mixture and substance

 containing a detectable amount of methamphetamine, its salts, isomers, and salts of

 its isomers, a Schedule II controlled substance.

        All in violation of Title 21, United States Code, Sections 841(a)(1),

 841(b)(1)(C), and Title 18, United States Code, Section 2.



                                        Count 3
         Attempted Possession of Methamphetamine with Intent to Distribute
                   (21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 846)

        10.    On or about and between October 22,2019, and October 25,2019,

  both dates being approximate and inclusive, within the District of Hawaii,

  ARTHUR BRUN,aka "Ata," and KANIU HUIHUI,the defendants, did

 knowingly and intentionally attempt to possess with intent to distribute 50 grams

  or more of a mixture and substance containing a detectable amount of

  methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II

  controlled substance.


        All in violation of Title 21, United States Code, Sections 841(a)(1),

 841(b)(1)(B), and 846.

 //


 //


                                           16
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 17 of 29           PageID #: 17




                                       Count 4
              Possession of Methamphetamine with Intent to Distribute
                     (21 U.S.C. § 841(a)(1) and 841(b)(1)(A))

       11.    On or about October 29, 2019, within the District of Hawaii,

 ARTHUR BRUN,aka "Ata," and MALUELUE UMU,aka "Malu," the

 defendants, did knowingly and intentionally possess with intent to distribute 500

 grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II

 controlled substance.


       All in violation of Title 21, United States Code, Sections 841(a)(1) and

 841(b)(1)(A).



                                       Count 5
                   Assault of a Federal Law Enforcement Officer
                                 (18 U.S.C. § 111)

       12.    On or about October 29,2019, within the District of Hawaii,

 ARTHUR BRUN,aka "Ata," the defendant, did forcibly assault and inflict bodily

 injury upon a person designated in Title 18, United States Code, Section 1114,

 namely, J.M., in his capacity as a Task Force Officer with a federal law

 enforcement agency and as a state law enforcement officer acting in cooperation

 with and under the control offederal officers in a matter involving the enforcement

                                          17
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 18 of 29         PageID #: 18




 offederal laws, which assault BRUN did with the intent to commit another felony,

 namely,to commit the offense of evidence tampering as charged in Count 6 ofthis

 Indictment and which assault caused physical contact with J.M., while J.M. was

 engaged in, and on account of, the performance of his official duties.

       All in violation of Title 18, United States Code, Sections 111(a)(1) and

  in(b).



                                       Count 6
                 Obstruction of Justice through Evidence Tampering
                              (18U.S.C.§ 1512(c)(1))

       13.    On or about and between October 29,2019, and November 1, 2019,

 both dates being approximate and inclusive, ARTHUR BRUN,aka "Ata," and

 KELVIN KAUWILA KAI, aka "Kauwila," the defendants, did corruptly attempt

 to conceal an object, namely, a quantity of a mixture or substance containing a

 detectable amount of methamphetamine, with the intent to impair the availability

 ofthe methamphetamine for use in an official proceeding, namely, a proceeding

 before a judge or court ofthe United States.

       All in violation of Title 18, United States Code, Sections 1512(c)(1) and 2.

 //


 //


                                          18
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 19 of 29          PageID #: 19




                                       Count 7
                        Distribution of Methamphetamine
                     (21 U.S.C. § 841(a)(1) and 841(b)(1)(C))

       14.   On or about November 19, 2019, within the District of Hawaii,

 ARTHUR BRUN,aka "Ata," the defendant, did knowingly and intentionally

 distribute a quantity of a mixture and substance containing a detectable amount of

 methamphetamine, its salts, isomers, and salts ofits isomers, a Schedule II

 controlled substance.


       All in violation of Title 21, United States Code, Sections 841(a)(1) and

 841(b)(1)(C).



                                       Count 8
                        Distribution of Methamphetamine
                     (21 U.S.C. § 841(a)(1) and 841(b)(1)(C))

       15.    On or about November 21, 2019, within the District of Hawaii,

 ARTHUR BRUN,aka "Ata," the defendant, did knowingly and intentionally

 distribute a quantity of a mixture and substance containing a detectable amount of

 methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II

 controlled substance.


       All in violation of Title 21, United States Code, Sections 841(a)(1) and

 841(b)(1)(C).

                                          19
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 20 of 29           PageID #: 20




                                      Count 9
                 Obstruction of Justice through Witness Tampering
                             (18U.S.C. § 1512(b)(3))

       16.   On or about and between November 21, 2019, and November 22,

 2019, both dates being approximate and inclusive, within the District of Hawaii,

 ARTHUR BRUN,aka "Ata," the defendant, did knowingly attempt to corruptly

 persuade another person, namely, CC-3,to provide false information to the Kaua'i

 Police Department about a backpack belonging to CC-3 and containing a quantity

 of a mixture or substance containing a detectable amount of methamphetamine that

 BRUN had supplied to CC-3, with the intent to prevent the communication to the

 Kaua'i Police Department oftruthful information relating to the possible

 commission of a Federal offense, namely, distribution and possession with intent to

 distribute methamphetamine, in violation of Title 21, United States Code, Sections

 841(a)(1) and 841(b)(1).

       All in violation of Title 18, United States Code, Section 1512(b)(3).



                                      Count 10
                 Felon in Possession of a Firearm and Ammunition
                      (18 U.S.C. §§ 922(g)(1) and 924(a)(2))

       17.   From a precise date unknown, but by at least January 14, 2020, within

 the District of Hawaii, STEVEN KELIIKULI,the defendant, having previously

                                         20
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 21 of 29          PageID #: 21




 been convicted of a crime punishable by imprisonment for a term exceeding one

  year, and knowing that he had been convicted of such a crime, did knowingly

 possess a firearm, namely a Smith and Wesson .38 Special, and ammunition,

 namely six rounds of.38 Special ammunition, said firearm and ammunition having

 been previously shipped and transported in interstate and foreign commerce.

        All in violation of Title 18, United States Code, Sections 922(g)(1) and

 924(a)(2).



                                       Count 11
              Possession of Methamphetamine with Intent to Distribute
                    (21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B))

        18.   From a precise date unknown, but by at least January 21, 2020, within

 the District of Hawaii, ROBBY SILVA,the defendant, did knowingly and

 intentionally possess with intent to distribute 50 grams or more of a mixture and

 substance containing a detectable amount of methamphetamine, its salts, isomers,

 and salts of its isomers, a Schedule 11 controlled substance.

        All in violation of Title 21, United States Code, Sections 841(a)(1) and

 841(b)(1)(B).

 //


 //


                                          21
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 22 of 29          PageID #: 22




                                       Count 12
                         Felon in Possession of Ammunition
                       (18 U.S.C. §§ 922(g)(1) and 924(a)(2))

        19.   From a precise date unknown, but by at least January 21, 2020, within

 the District of Hawaii, ROBBY SILVA,the defendant, having previously been

 convicted of a crime punishable by imprisonment for a term exceeding one year,

 and knowing that he had been convicted of such a crime, did knowingly possess

  various sizes, calibers, and types of ammunition, said ammunition having been

  previously shipped and transported in interstate and foreign commerce.

        All in violation of Title 18, United States Code, Section 922(g)(1) and

 924(a)(2).




                                       Count 13
              Conspiracy to Possess Firearm and Ammunition as Felons
                                 (18 U.S.C. §371)

        20.   In or about October 2019, within the District of Hawaii, ARTHUR

 BRUN,aka "Ata," and ORLANDO MANGUCHEI,aka "Ole," the defendants, and

  others known and unknown, knowingly and willfully did combine, conspire,

 confederate, and agree together and with each other to commit an offense against

 the United States, namely, to violate Title 18, United States Code, Section

 922(g)(1).


                                          22
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 23 of 29         PageID #: 23




       21.    It was a part and an object ofthe conspiracy that ARTHUR BRUN,

 aka "Ata," and ORLANDO MANGUCHEI,aka "Ole," the defendants, having

 previously been convicted of a crime punishable by imprisonment for a term

 exceeding one year, and knowing that they had been convicted of such a crime,

 would and did knowingly possess a firearm and ammunition, said firearm and

 ammunition having been previously shipped and transported in interstate and

 foreign commerce.

       22.   In furtherance ofthe conspiracy and to effect the illegal object thereof,

 the following overt act, among others, was committed within the District of

 Hawai'i:


              a.     On or about October 16, 2019, ARTHUR BRUN,aka "Ata,"

 the defendant, called CC-1 and asked, in substance and in part, if he "get any uh

 guns?" When CC-1 answered that he had a registered gun,BRUN responded, in

 substance and in part, that he needed an unregistered gun for ORLANDO

 MANGUCHEI,aka "Ole," the defendant: "No,not registered .... My friend

 coming from Oahu he like go hunt that's why.... this fucka not going get caught

 I promise ....that's for Orlando that's why."

              b.    On or about October 16, 2019, MANGUCHEI sent a text

 message to BRUN in which he asked, in substance and in part, ifBRUN needed

                                         23
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 24 of 29          PageID #: 24




 assistance with collecting drug debts: "Patnahno more real job for me up there?.i

 hit wonders.on the real.i not on that stuff.i mean business. If someone owe u.that

 get the cash but holding o ... ut.or just text me out.we talk."

              c.    On or about October 17,2019,BRUN and MANGUCHEI

 spoke by phone, during which conversation BRUN explained, in substance and in

 part, that his "boy" had a"SKS" firearm "for you hunt." When MANGUCHEI

 asked, in substance and in part,"what get rounds in that thing?" BRUN responded,

 "Get brah, hundred or thousand rounds ...." Later in the conversation, BRUN

 asked MANGUCHEI,in substance and in part, if he would prefer a "38 ...

 revolver."


       All in violation of Title 18, United States Code, Section 371.




                                First Forfeiture Notice


       1.     The allegations set forth in paragraphs 1-4, 5-11, 14, 15, and 18 ofthis

 Indictment are hereby realleged and incorporated by reference for the purpose of

 noticing forfeiture pursuant to Title 21, United States Code, Section 853.

       2.     The United States hereby gives notice that, pursuant to Title 21,

 United States Code, Section 853, upon conviction ofthe offenses in violation of

 Title 21, United States Code, Sections 841(a)(1), 841(b)(1), and 846, charged in

                                          24
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 25 of 29            PageID #: 25




 Counts 1-4, 7, 8, and 11 ofthis Indictment, ARTHUR BRUN,aka "Ata,"

 MALUELUE UMU,aka "Malu," KELVIN BLAUWILA KAI, aka "Kauwila,"

 STEVEN KELIIKULI,KANIU HUIHUI,SHEENA MILLARE,EFREN YANOS,

 KIRSTEN MAKANOE AYAU,ORLANDO MANGUCHEI,aka "Ole," ROBBY

 SILVA,HAIDEE SUEYASU,and PHRYSTAL BACIO,the defendants, shall

 forfeit to the United States any and all property constituting, or derived from,any

 proceeds obtained, directly or indirectly, as the result ofsuch violations and any

 and all property used, or intended to be used, in any manner or part, to commit, or

 to facilitate the commission of, such violations.

       3.     If by any act or omission ofthe defendants, any ofthe property

 subject to forfeiture described in paragraph 2 above:

              a.     cannot be located upon the exercise of due diligence;

              b.     has been transferred or sold to, or deposited with, a third party;

              c.     has been placed beyond the jurisdiction ofthe court;

              d.     has been substantially diminished in value; or

              e.     has been commingled with other property which cannot be

                     subdivided without difficulty,

 the United States will be entitled to forfeiture of substitute property up to the value

 ofthe property described above in paragraph 2, pursuant to Title 21, United States

                                           25
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 26 of 29         PageID #: 26




 Code, Section 853(p).



                              Second Forfeiture Notice


       1.    The allegations set forth in paragraphs 1,3, 17, and 19-22 ofthis

 Indictment are hereby realleged and incorporated by reference for the purpose of

 noticing forfeiture pursuant to Title 18, United States Code, Section 924(d)(1), and

 Title 28, United States Code, Section 2461(c).

       2.     The United States hereby gives notice that, upon conviction ofthe

 offenses in violation of Title 18, United States Code, Sections 922(g)(1) and 371,

 set forth in Counts 10, 12, and 13 ofthis Indictment, ARTHUR BRUN,aka "Ata,"

 STEVEN KELIIKULI,ORLANDO MANGUCHEI,aka "Ole," and ROBBY

 SILVA,the defendants, shall forfeit to the United States any firearms and

 ammunition involved in or used in the those violations oflaw, including but not

 limited to the following: the Smith and Wesson .38 Special and six rounds of.38

 Special ammunition referred to in Count 10, all ofthe various sizes, calibers, and

 types of ammunition referred to in Count 12, and the firearms and ammunition

 referred to in Coimt 13.


       3.    If by any act or omission ofthe defendants, any ofthe property

 subject to forfeiture described in paragraph 2 above:

                                         26
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 27 of 29            PageID #: 27




              a.     cannot be located upon the exercise of due diligence;

              b.     has been transferred or sold to, or deposited with, a third party;

              c.     has been placed beyond the jurisdiction ofthe court;

              d.     has been substantially diminished in value; or

              e.     has been commingled with other property which cannot be

                     subdivided without difficulty,

 the United States will be entitled to forfeiture of substitute property up to the value

 ofthe property described above in paragraph 2, pursuant to Title 21, United States

 Code, Section 853(p), as incorporated by Title 28, United States Code, Section

 2461(c).




                                Third Forfeiture Notice


        1.    The allegations set forth in paragraphs 1,4, 13, and 16 ofthis

 Indictment are hereby re-alleged and incorporated by reference as though set forth

 in full herein for the purpose of noticing forfeiture pursuant to Title 18, United

 States Code, Section 981(a)(1)(C), and Title 28, United States Code, Section 2461.

       2.     The United States hereby gives notice that, upon conviction ofthe

 offenses in violation of Title 18, United States Code, Section 1512, set forth in

 Counts 6 and 9 ofthis Indictment, ARTHUR BRUN,aka "Ata," and KELVIN

                                           27
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 28 of 29            PageID #: 28




 ICAUWILA KAI,aka "Kauwila," the defendants, shall forfeit to the United States

 of America any and all property, real or personal, which constitutes or is derived

 from proceeds traceable to the offenses charged in Counts 6 and 9 ofthis

 Indictment.


       3.      If by any act or omission ofthe defendants, any ofthe property

 subject to forfeiture described in paragraph 2 above:

               a.    cannot be located upon the exercise of due diligence;

               b.    has been transferred or sold to, or deposited with, a third party;

               c.    has been placed beyond the jurisdiction ofthe court;

               d.    has been substantially diminished in value; or

               e.    has been commingled with other property which cannot be

                     subdivided without difficulty.




                                          28
Case 1:20-cr-00024-DKW-RT Document 1 Filed 02/13/20 Page 29 of 29           PageID #: 29




 the United States of America will be entitled to forfeiture of substitute property up

 to the value ofthe property described above in paragraph 2, pursuant to Title 21,

 United States Code, Section 853(p), as incorporated by Title 28, United States

 Code, Section 2461(c).

       DATED; February          2020, at Honolulu, Hawaii.


                                               A TRUE BILL


                                               /s/ Foreperson

                                               FOREPERSON, GRAND JURY




 KENJIM.PRICE
 United States Attorney
 District of Hawaii




 SEAN VAN DEMARK
 MICAH SMITH
 Assistant U.S. Attorneys




 United States v. Arthur Brun, et al.
 Indictment                             JAO
 Cr. No.
              c RZO-oooIk                 29
